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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


  PGX HOLDINGS, INC., et al.1,                               Chapter 11

                                 Debtors.                    Case No. 23-10718 (CTG)

                                                             (Jointly Administered)


  KIRSTEN HANSEN on behalf of herself and all
  others similarly situated,

                                 Plaintiff,                  Adv. Proc. No. 50396 (CTG)

                  v.

  PGX HOLDINGS, INC.; PROGREXION
  HOLDINGS, INC.; PROGREXION
  TELESERVICES, INC.; PROGREXION
  MARKETING, INC.; PROGREXION ASG, INC.;
  PROGREXION IP, INC.; EFOLKS, LLC;
  CREDITREPAIR.COM, INC.; CREDIT.COM,
  INC.; and JOHN C. HEATH, ATTORNEY AT
  LAW PC,

                                 Defendants.


                                         NOTICE OF SERVICE

       Notice is hereby given that, on November 9, 2023, Plaintiff Kirsten Hansen (“Plaintiff”)

through her counsel, served upon counsel for Defendants Plaintiff’s Initial Rule 26(a) Disclosures

via electronic mail to the parties listed below:

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 Dated: November 15, 2023                     Respectfully submitted,


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